base 2:05-Cr-20252-BBD Document 48 Filed 08/17/05 Page 1 of 2 Page|D 49

n.c.
IN THE UNITED sTATES I)IsTRICT CoURTT\-ED B`*' -~~~~'"'

FOR THE WESTERN DISTRICT OF TENNESSEE UG ‘., PH 33 58

 

 

 

 

 

WESTERN DlvlsloN 05 h
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UNITED sTATEs oF AMERICA wm 0;_: '~:;,; details
v.
ERRISS MCCLAIN 05Cr20252-2-D
ORDER ON ARRAIGNMENT

This cause came to be heard on D€ ' l 7- 05 the United States Attorney
for this district appeared on behalf of the government, and the defendant appeared in person and With
counsel:
NAME M i/L(Hgd. who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his present bond.

,¢ l he defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal. '_'
/"""
§ //»m,,., ¢ao
UNITED STATES MAGISTRATE ]UDGE

CHARGES - 18 USC 1343 and 2
FRAUD BY WIRE, RADIO, OR TELEVISION

Attorney assigned to Case: C. McMullen

Age: 20

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with arise 35 aris/or s2(b) FaorP on g/ZE“QJ

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 2:05-CR-20252 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

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Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

l\/lemphis7 TN 381 ll

Honorable Bernice Donald
US DISTRICT COURT

